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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JOHN DOE, et al.,                                  Case No. 22-cv-03580-WHO
                                                        Plaintiffs,
                                   8
                                                                                            TENTATIVE ORDER IN ADVANCE
                                                 v.                                         OF THE AUGUST 16, 2023 HEARING
                                   9
                                                                                            ON MOTION TO DISMISS
                                  10     META PLATFORMS, INC., et al.,
                                                        Defendants.
                                  11

                                  12          To help the parties prepare and focus their arguments in advance of the August 16, 2023
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                                  13   hearing, I issue the following tentative opinion. Each side will have up to 30 minutes to argue.

                                  14          Motion to Dismiss Denied

                                  15          Extraterritoriality – until an explicit choice-of-law argument is raised, California law will

                                  16   govern at this juncture given the significant nexus to California (plaintiffs have plausibly alleged

                                  17   sufficient conduct occurred in California).

                                  18          Wiretap Act – DENY; Meta has not, and cannot on motion to dismiss, meet its burden to

                                  19   show plaintiffs’ healthcare providers gave sufficient consent.

                                  20          CIPA - DENY; adequately alleged intent, sent or received, and device. Northern District

                                  21   cases under Penal Code section 637.7(d) are distinguishable.

                                  22          Unjust Enrichment – DENY; can proceed in the alternative at this juncture.

                                  23          Larceny – DENY. Court is inclined to agree with Calhoun v. Google LLC, 526 F. Supp.

                                  24   3d 605, 635 (N.D. Cal. 2021).

                                  25          Motion to Dismiss Granted

                                  26          Privacy Claims – DISMISS with leave to amend so plaintiffs can describe the types or

                                  27   categories of sensitive health information they provided through their devices to their healthcare

                                  28   providers. That basic amendment (which can be general enough to protect plaintiffs’ specific
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                                   1   privacy interests) will allow claims to go forward.

                                   2           Contract Claims – DISMISS without leave because the limitations of liability provision

                                   3   applies to contract claims and not clearly unconscionable. Court inclined to agree with Bass v.

                                   4   Facebook, Inc., 394 F. Supp. 3d 1024, 1037 (N.D. Cal. 2019).

                                   5           CDAFA – DISMISS without leave for failure to allege damage or loss under CDAFA.

                                   6   Loss of use of devices to be able to communicate with healthcare providers not sufficient damage

                                   7   or loss under CDAFA. Court inclined to agree with Cottle v. Plaid Inc., 536 F. Supp. 3d 461

                                   8   (N.D. Cal. 2021).

                                   9           Negligence Per Se – DISMISS without leave because cannot be based on a duty created

                                  10   by HIPAA, must arise from a state law source.

                                  11           Trespass to Chattels – DISMISS without leave for failure to allege a cognizable harm

                                  12   protected by trespass. That these plaintiffs valued using their personal devices to communicate
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                                  13   with their healthcare providers does not sufficiently impair the value of those devices for the

                                  14   plaintiffs to state a trespass to chattels claim.

                                  15           UCL – DISMISS without leave for failure to allege “lost money or property” as required

                                  16   by UCL. Even if value of healthcare information qualifies as “lost property” there are no

                                  17   allegations that plaintiffs actually intended to participate in that market (i.e., sell their healthcare

                                  18   information) and in light of privacy claims any such allegations would be implausible.

                                  19           CLRA – DISMISS with leave to amend to plead facts regarding reliance on the alleged

                                  20   misrepresentations.

                                  21

                                  22   Dated: August 15, 2023

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                                                                                                       William H. Orrick
                                  25                                                                   United States District Judge
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